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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                Plaintiff,

        v.                                               Case No. 01-cr-40017-JPG

 DEREK A WAITHE,

                Defendant.

                               MEMORANDUM AND ORDER

       This matter comes before the Court on Defendant Derek A. Waithe’s pro se Motion for

Leave to Appeal in Forma Pauperis (Doc. 478). Waithe appeals the Court’s Order granting his

counsel’s Motion to Withdraw and “No Merits” Statement and dismissing his pro se Motion for

Motion for Retroactive Application of Sentencing Guidelines under 18 U.S.C. § 3582(c)(2) and

United States Sentencing Guideline Manual (“U.S.S.G.”) § 1B1.10 (Doc. 471).

       A federal court may permit a party to proceed on appeal without full pre-payment of fees

provided the party is indigent and the appeal is taken in good faith. 28 U.S.C. § 1915(a)(3); Fed.

R. App. P. 24(a)(3). A frivolous appeal cannot be made in good faith. Lee v. Clinton, 209 F.3d

1025, 1026-27 (7th Cir. 2000). The test for determining if an appeal is in good faith or not

frivolous is whether any of the legal points are reasonably arguable on their merits. Neitzke v.

Williams, 490 U.S. 319, 325 (1989) (citing Anders v. California, 386 U.S. 738 (1967)); Walker v.

O’Brien, 216 F.3d 626, 632 (7th Cir. 2000).

       Waithe was sentenced based on relevant conduct that exceeded 4.5 kilograms of crack

cocaine. His guideline range was not lowered by a subsequent amendment to the guidelines. In

light of the Seventh Circuit’s ruling in United States v. Forman, 553 F.3d 585, 588 (7th

Cir.2009), cert. denied sub nom McKnight v. United States, 129 S.Ct. 1924 (Apr. 6, 2009), any

argument that this Court has jurisdiction to decide Waithe’s Motion is frivolous. Therefore, the
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Court CERTIFIES that this appeal is not taken in good faith and accordingly DENIES the

Motion for Leave to Appeal in Forma Pauperis (Doc. 478) (Doc. 478).

IT IS SO ORDERED.
Dated: July 22, 2009.


                                          s/ J. Phil Gilbert
                                          J. PHIL GILBERT
                                          U.S. DISTRICT JUDGE




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